        Case 18-10687-JCM                       Doc 84        Filed 01/08/24 Entered 01/08/24 14:14:56                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              MARY A. SPENCER


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-10687JCM




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 MIDFIRST BANK SSB*                                                                2

 Last 4 digits of any number you use to identify the debtor's account                         6   9   3   6

 Property Address:                             439 COLERAIN ST
                                               SLIGO PA 16255




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        8,156.31

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        8,156.31

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        8,156.31



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $506.22
         The next postpetition payment is due on                11 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                          page 1
    Case 18-10687-JCM                Doc 84    Filed 01/08/24 Entered 01/08/24 14:14:56                            Desc Main
                                               Document Page 2 of 5



Debtor 1     MARY A. SPENCER                                                  Case number (if known) 18-10687JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     01/08/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
    Case 18-10687-JCM           Doc 84       Filed 01/08/24 Entered 01/08/24 14:14:56                         Desc Main
                                             Document Page 3 of 5



Debtor 1     MARY A. SPENCER                                             Case number (if known) 18-10687JCM
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
11/25/2019   1140104    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         119.38
12/23/2019   1143489    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         731.20
01/28/2020   1146940    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         733.62
02/25/2020   1150464    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         733.62
03/23/2020   1153953    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         733.62
04/27/2020   1157406    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,291.75
05/26/2020   1160743    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         687.58
06/26/2020   1163880    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         561.42
12/21/2020   1182285    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       2,564.12
                                                                                                                   8,156.31

MORTGAGE REGULAR PAYMENT (Part 3)
11/27/2018   1100221    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            426.23
12/21/2018   1103325    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            218.44
01/25/2019   1106546    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            665.17
02/25/2019   1109789    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            449.74
03/25/2019   1113084    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            454.99
04/26/2019   1116378    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            688.99
05/24/2019   1119778    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            468.36
06/25/2019   1123182    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            483.09
07/29/2019   1126625    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                            513.20
08/27/2019   1130011    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            535.73
09/24/2019   1133302    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            561.15
10/24/2019   1136641    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            994.80
11/25/2019   1140104    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            777.87
12/23/2019   1143489    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
01/28/2020   1146940    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
02/25/2020   1150464    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
03/23/2020   1153953    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
04/27/2020   1157406    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
05/26/2020   1160743    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
06/26/2020   1163880    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
07/29/2020   1167000    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
08/25/2020   1170071    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
09/28/2020   1173167    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            428.68
10/26/2020   1176264    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            439.36
11/24/2020   1179334    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
12/21/2020   1182285    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
01/25/2021   1185255    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
02/22/2021   1188389    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
03/26/2021   1191675    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
04/26/2021   1194925    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
05/25/2021   1198048    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
06/25/2021   1201233    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
07/26/2021   1204435    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
08/26/2021   1207557    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            432.24
09/24/2021   1210676    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            436.92
10/25/2021   1213748    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
11/22/2021   1216783    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
12/23/2021   1219858    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
01/26/2022   1222919    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
02/23/2022   1225795    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
03/25/2022   1228754    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
04/26/2022   1231798    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
05/25/2022   1234837    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
06/27/2022   1237864    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
07/26/2022   1240808    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            434.58
08/24/2022   1243693    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            450.96
09/27/2022   1246560    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            450.96
10/25/2022   1249390    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            450.96
11/23/2022   1252166    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            450.96
12/22/2022   1254926    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            450.96
01/26/2023   1257653    MIDFIRST BANK SSB*                 AMOUNTS DISBURSED TO CREDITOR                            450.96

Form 4100N                                    Notice of Final Cure Payment                                           page 3
    Case 18-10687-JCM           Doc 84       Filed 01/08/24 Entered 01/08/24 14:14:56                         Desc Main
                                             Document Page 4 of 5



Debtor 1     MARY A. SPENCER                                             Case number (if known) 18-10687JCM
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
02/23/2023   1260276    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         450.96
03/28/2023   1263045    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         450.96
04/25/2023   1265864    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         450.96
05/25/2023   1268722    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         450.96
06/26/2023   1271618    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         450.96
07/25/2023   1274384    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         450.96
08/25/2023   1277155    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         506.22
09/26/2023   1279908    MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         506.22
                                                                                                                  27,493.00




Form 4100N                                    Notice of Final Cure Payment                                           page 4
   Case 18-10687-JCM           Doc 84     Filed 01/08/24 Entered 01/08/24 14:14:56                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

MARY A. SPENCER
PO BOX 289
SLIGO, PA 16255

KENNETH STEIDL ESQ
STEIDL & STEINBERG
707 GRANT ST STE 2830
PITTSBURGH, PA 15219

MIDFIRST BANK SSB*
ATTN BANKRUPTCY TRUSTEE PMTS*
999 NW GRAND BLVD STE 100
OKLAHOMA CITY, OK 73118

ALDRIDGE PITE LLC
8880 RIO SAN DIEGO DR STE 725
SAN DIEGO, CA 92108




1/8/24                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
